 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 1 of 42 Page ID #:1



 1   Jordan L. Lurie (SBN 130013)
     Jordan.Lurie@capstonelawyers.com
 2   Robert Friedl (SBN 134947)
     Robert.Friedl@capstonelawyers.com
 3   Tarek H. Zohdy (SBN 247775)
     Tarek.Zohdy@capstonelawyers.com
 4   Cody R. Padgett (SBN 275553)
     Cody.Padgett@capstonelawyers.com
 5   Capstone Law APC
     1840 Century Park East, Suite 450
 6   Los Angeles, California 90067
     Telephone: (310) 556-4811
 7   Facsimile: (310) 943-0396
 8   Attorneys for Plaintiffs Alfred Salas and
     Gloria Ortega
 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12   ALFRED SALAS and GLORIA                     Case No.:
     ORTEGA, individually, and on
13   behalf of a class of similarly situated     CLASS ACTION COMPLAINT FOR:
     individuals,
14                                               (1) Violations of California Consumer
                  Plaintiffs,                        Legal Remedies Act;
15                                               (2) Violations of Unfair Competition
           vs.                                       Law;
16                                               (3) Breach of Implied Warranty pursuant
     TOYOTA MOTOR SALES, U.S.A.,                     to Song-Beverly Consumer Warranty
17   INC., a California corporation;                 Act;
     TOYOTA MOTOR ENGINEERING                    (4) Breach of Implied Warranty pursuant
18   & MANUFACTURING NORTH                           to the Magnuson-Moss Warranty
     AMERICA, INC., a Kentucky                       Act. and
19   corporation,                                (5) Unjust Enrichment.
20                Defendants.
                                                 DEMAND FOR JURY TRIAL
21
22
23
24
25
26
27
28


                                      CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 2 of 42 Page ID #:2



 1                                   INTRODUCTION
 2         1.     Plaintiffs Alfred Salas and Gloria Ortega (“Plaintiffs”) bring this
 3   action for themselves and on behalf of all persons in the United States who
 4   purchased or leased any Toyota Camry XV50 model vehicles1 (collectively,
 5   “Class Vehicles”) designed, manufactured, marketed, distributed, sold,
 6   warranted and serviced by Toyota Motor Sales, U.S.A., Inc. and Toyota Motor
 7   Engineering and Manufacturing North America, Inc. (“Toyota” or
 8   “Defendants”).
 9         2.     This action arises out of a uniform and widespread defect in the
10   Heating, Ventilation, and Air Conditioning (“HVAC”) system of an entire class
11   of automobiles that poses an unreasonable health risk to the driver and
12   passengers of the vehicle.
13         3.     On information and belief, the HVAC system contains one or more
14   design and/or manufacturing defects that cause, among other problems,
15   emissions of noxious and foul odors from debris and contamination in the HVAC
16   system as well as possible growth of mold (the “HVAC Defect”).
17         4.     Owners of the affected vehicles have a reasonable expectation that
18   normal and routine use of their vehicle’s HVAC system will not result in
19   exposure to noxious, foul odors or debris and contamination from their HVAC
20   system. Exposure to such smells and contamination is hazardous to health and
21   can lead to illness. The Center for Disease Control and Prevention (“CDC”)
22   states that “molds can cause symptoms such as nasal stuffiness, eye irritation,
23   wheezing, or skin irritation. Some people, such as those with serious allergies to
24   molds, may have more severe reactions . . . [including] fever and shortness of
25   breath.”2
26
           1
27            On information and belief, these vehicles include, but are not limited to,
     the following models: 2012-2015 Toyota Camry.
28          2
              CDC, “Basic Facts: Molds in the Environment,
                                             Page 1
                                     CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 3 of 42 Page ID #:3



 1         5.      Many studies have been published concerning the health and safety
 2   risks of mold exposure. For example, the World Health Organization has stated
 3   that “[h]ealthy indoor air is recognized as a basic right” and that mold exposure
 4   is “clinically associated with respiratory symptoms, allergies, asthma, and
 5   immunological reactions.”3 In another study, the Environmental Research
 6   Center in the Department of Biology at Georgia State University found that the
 7   “enclosed environment of the automobile is a microcosm of the indoor
 8   environment and is thus potentially susceptible to fungal-mediated allergy
 9   problems.”4
10         6.      On information and belief, the contamination emanating from the
11   HVAC system grows on a component called the evaporator, located inside the
12   vehicle’s dashboard. As the cold refrigerant passes into the evaporator, it
13   absorbs heat from the air in the passenger compartment and also collects
14   moisture because of condensation on the evaporator’s surface. This moisture,
15   along with pollen, dead insects in the air, and bits of leaves that enter the HVAC
16   system from the outside vents, leads to an environment favorable to the growth
17   of mold and other contaminants.
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24
     http://www.cdc.gov/mold/faqs.htm (last visited February 17, 2015).
25          3
              Marc Danzon, Foreword to WHO Guidelines for Indoor Air Quality:
26   Dampness and Mould at xi (Elisabeth Heseltine and Jerome Rosen eds., 2009).
            4
27            R.B. Simmons et al., Fungal Colonization of Automobile Air
     Conditioning Systems, Journal of Industrial Microbiology & Biotechnology 150
28   (1997).
                                            Page 2
                                    CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 4 of 42 Page ID #:4



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12         7.     On information and belief, the HVAC Defect cannot be resolved by
13   the Defendants’ offered “fixes” and thus may require expensive and temporary
14   repairs which do not address the issue, including repeated replacement of air
15   filters or other related components, as well as repeated foam flushes or other
16   related repairs.
17         8.     Plaintiffs are informed and believe, and based thereon allege, that
18   even where Defendants agree to address consumer complaints of the HVAC
19   system containing mold or emitting noxious and foul odors, Defendants merely
20   replace the defective HVAC components with the same defective components,
21   which never repairs the HVAC Defect as warranted.
22         9.     On information and belief, prior to sale of the Class Vehicles,
23   Defendants knew, or should have known, about the HVAC Defect through their
24   exclusive knowledge of non-public, internal data about the HVAC Defect,
25   including, without limitation, early consumer complaints about the HVAC
26   Defect to Defendants’ dealers who are their agents for vehicle repairs; dealership
27   repair orders; testing conducted in response to those complaints; technical
28   service bulletins (“TSBs”) applicable to the identical Class Vehicles; and other

                                            Page 3
                                    CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 5 of 42 Page ID #:5



 1   internal sources. Nevertheless, Defendants have actively concealed and failed to
 2   disclose this defect to Plaintiffs and Class Members at the time of their purchase
 3   or lease of the Class Vehicles and thereafter.
 4         10.    Beginning as early as 1997, Defendants knew or should have known
 5   that the HVAC system contained one or more design and/or manufacturing
 6   defects that cause health risks through pre-sale testing and other internal sources.
 7   Nonetheless, Defendants have actively concealed and failed to disclose this
 8   defect to Plaintiffs and Class Members at the time of purchase or lease of the
 9   Class Vehicles and thereafter and continued to use the defective HVAC system
10   in its vehicles, including the Class Vehicles.
11         11.    Before offering the vehicle for sale, Toyota had already offered
12   prior model year Camry vehicles for sale, which utilized the same, or
13   substantially similar, HVAC systems. Specifically, nearly two decades ago and
14   as a result of the HVAC Defect, Toyota issued TSB AC002-97 to its dealers in
15   the United States, acknowledging to its dealers that the HVAC system and its
16   associated parts for “all models,” including the Camry, were defective and
17   malfunctioning. The TSB, issued on or about May 9, 1997 and titled “AIR
18   CONDITIONING EVAPORATOR ODOR,” informs dealers that a “musty odor
19   may be emitted from the air conditioning system of some vehicles,” and one
20   reason for this odor is “[m]icrobial growth in the evaporator, arising from
21   dampness in the evaporator housing where the cooling air flow is dehumidified.”
22   On information and belief, the HVAC systems at issue in this TSB are identical
23   or substantially similar to those used in the Class Vehicles.
24         12.    Toyota has acknowledged that the HVAC system used in the Class
25   Vehicles and its attendant problems are the same as the odor issues occurring in
26   other Toyota vehicles. Specifically, a Toyota technician’s training manual
27   published in 2005 indicated that “A/C system odors are a common complaint
28   among users, especially after start up.” It goes on to explain that the odors can

                                             Page 4
                                     CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 6 of 42 Page ID #:6



 1   be caused by “[m]icrobes [i.e., mold] growing on the evaporator surface” that are
 2   “small living bacteria . . . carried into the evaporator case [that] grow in the
 3   warm, moist environment.” Additionally, it states that there is “no permanent
 4   mechanical repair” for this issue. On information and belief, the HVAC
 5   systems at issue in this technician’s training manual are identical or substantially
 6   similar to those used in the Class Vehicles.
 7         13.    More recently, in or around August 2009, Toyota released yet
 8   another TSB, TSB-0261-09, to its dealers in the United States, titled “HVAC
 9   Odor,” once again acknowledging that the HVAC system and its associated parts
10   for 2007-2010 Camry, Camry HV and 2004-2008 Prius vehicles were defective
11   and malfunctioning. On information and belief, the HVAC systems at issue in
12   this TSB are identical or substantially similar to those used in the Class Vehicles.
13         14.    Subsequently, in or around September 2013, Toyota released
14   another TSB, TSB 0142-13, to its dealers in the United States, once again
15   acknowledging that the HVAC system and its associated parts for the Class
16   Vehicles were defective and malfunctioning. This TSB was titled “HVAC Odor
17   Maintenance,” and applies to all 2004-2014 Camry vehicles.
18         15.    On information and belief, despite notice of the defect from
19   numerous consumer complaints and dealership repair orders, Toyota has not
20   recalled the Class Vehicles to repair the HVAC Defect, has not offered their
21   customers a suitable repair or replacement free of charge, and has not offered to
22   reimburse the Class Vehicles’ owners and leaseholders in full for the costs they
23   incurred in diagnosing and repairing the HVAC Defect.
24         16.    Because Toyota will not notify Class Members that the HVAC
25   system is defective, Plaintiffs and Class Members (as well as other passengers)
26   are subjected to serious adverse health risks because of their vehicle.
27         17.    The alleged HVAC Defect was inherent in each Toyota Camry
28   HVAC system and was present in each Toyota Camry HVAC system at the time

                                              Page 5
                                      CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 7 of 42 Page ID #:7



 1   of sale.
 2         18.     Toyota knew about the HVAC Defect present in every Class
 3   Vehicle, along with the attendant risks to health and safety, and concealed them
 4   from Plaintiffs and Class Members, at the time of sale, lease, and repair and
 5   thereafter.
 6         19.     If Plaintiffs and Class Members had known about these defects at
 7   the time of sale or lease, Plaintiffs and Class Members would not have purchased
 8   or leased the Class Vehicles or would have paid less for them.
 9         20.     As a result of their reliance on Defendants’ omissions and/or
10   misrepresentations, owners and/or lessees of the Class Vehicles suffered an
11   ascertainable loss of money, property, and/or value of their Class Vehicles,
12   including, but not limited to, out-of-pocket costs related to repairs to the HVAC
13   system. Additionally, as a result of the HVAC Defect, Plaintiffs and Class
14   Members were harmed and suffered actual damages in that repair or replacement
15   of the Class Vehicles’ HVAC components will be substantially certain to fail to
16   resolve the odor and/or mold issues and, thus, the HVAC system will require
17   repairs or replacements throughout the life of the vehicles..
18                                     THE PARTIES
19   Plaintiff Alfred Salas
20         21.     Plaintiff Alfred Salas is a California citizen who resides in Los
21   Angeles, California.
22         22.     On or about June 20, 2015, Plaintiff Salas purchased a used 2014
23   Toyota Camry from South Coast Toyota, an authorized Toyota dealer in Los
24   Angeles County.
25         23.     Plaintiff Salas purchased his vehicle primarily for personal, family,
26   or household use. Toyota manufactured, sold, distributed, advertised, marketed,
27   and warranted the vehicle.
28         24.     Passenger safety and reliability were factors in Plaintiff Salas’s

                                              Page 6
                                      CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 8 of 42 Page ID #:8



 1   decision to purchase his vehicle. Prior to purchasing his vehicle, Plaintiff Salas
 2   reviewed specific features and options for the Camry on Toyota’s official
 3   website and test drove his Toyota Camry prior to his purchase.
 4           25.   On or about August 29, 2015, with approximately 26,476 miles on
 5   the odometer of his 2014 Toyota Camry, Plaintiff Salas brought his vehicle to
 6   South Coast Toyota complaining that the HVAC system was not draining
 7   following use of the air conditioning and that the vehicle’s HVAC system was
 8   emitting an odor when the heat or air conditioning was in use. Toyota’s service
 9   advisor inspected Plaintiff Salas’s vehicle and performed repairs designed to
10   eliminate “bacteria build up” in the HVAC system including running an “O-
11   Zone” machine for several hours and replacing the cabin air filter.
12           26.   Plaintiff Salas continues to experience the HVAC Defect, including,
13   but not limited to noxious, foul, and moldy odors emitting from his vehicle’s
14   HVAC system.
15           27.   At all times, Plaintiff Salas, like all Class Members, has driven his
16   vehicle in a foreseeable manner and in the manner in which it was intended to be
17   used.
18   Plaintiff Gloria Ortega
19           28.   Plaintiff Gloria Ortega is a California citizen who resides in Long
20   Beach, California.
21           29.   On or about October 29, 2011, Ms. Ortega purchased a 2012 Toyota
22   Camry from Longo Toyota, an authorized Toyota dealer in Los Angeles County
23           30.   Plaintiff Ortega purchased her vehicle primarily for personal,
24   family, or household use. Toyota manufactured, sold, distributed, advertised,
25   marketed, and warranted the vehicle.
26           31.   Passenger safety and reliability were factors in Plaintiff Ortega’s
27   decision to purchase her vehicle. Prior to purchasing her vehicle, Plaintiff
28   Ortega reviewed specific features and options for the Camry on Toyota’s official

                                              Page 7
                                      CLASS ACTION COMPLAINT
 Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 9 of 42 Page ID #:9



 1   website and test drove her Toyota Camry prior to her purchase.
 2           32.   On or about June 21, 2013, with approximately 29,509 miles on the
 3   odometer of her 2012 Toyota Camry, Plaintiff Ortega brought her vehicle to
 4   AutoNation Toyota Cerritos complaining that the vehicle’s HVAC system was
 5   emitting an odor when the heat or air conditioning was in use. Toyota’s service
 6   advisor inspected Plaintiff Ortega’s vehicle and confirmed the presence of the
 7   odor when turning on the HVAC system. However, Toyota’s service advisor did
 8   not perform any repairs to address Plaintiff Ortega’s concern and instead
 9   recommended running the HVAC system in non-recirculation mode so the
10   evaporator could dry out the smell. Following this visit to the dealership’s
11   service department, Plaintiff Ortega’s vehicle’s HVAC system continued to emit
12   the foul odors she complained of whenever she used the heating or air
13   conditioning.
14           33.   In addition, on or about March 28, 2015, with approximately 59,970
15   miles on the odometer of her 2012 Toyota Camry, Plaintiff Ortega brought her
16   vehicle to Cabe Toyota, another authorized Toyota dealer in Long Beach,
17   California. During this visit, the assigned Toyota service advisor also confirmed
18   the foul odor emitting from the vehicle’s HVAC system. However, the service
19   advisor did not perform any repairs to address Plaintiff Ortega’s concern.
20           34.   Plaintiff Ortega continues to experience the HVAC Defect,
21   including, but not limited to noxious, foul, and moldy odors emitting from her
22   vehicle’s HVAC system.
23           35.   At all times, Plaintiff Ortega, like all Class Members, has driven her
24   vehicle in a foreseeable manner and in the manner in which it was intended to be
25   used.
26   Defendants
27           36.   Defendant Toyota Motor Sales, U.S.A., Inc. is a corporation
28   organized and in existence under the laws of the State of California and

                                              Page 8
                                      CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 10 of 42 Page ID #:10



 1   registered to do business in the State of California. Toyota Motor Sales, U.S.A.,
 2   Inc.’s Corporate Headquarters is located at 19001 South Western Avenue,
 3   Torrance, California 90501. Toyota Motor Sales, U.S.A., Inc. designs and
 4   manufactures motor vehicles, parts, and other products for sale in California, in
 5   the United States, and throughout the world. Toyota Motor Sales, U.S.A., Inc. is
 6   the warrantor and distributor of the Class Vehicles in California.
 7         37.   Defendant Toyota Motor Engineering and Manufacturing North
 8   America, Inc. is a corporation organized and in existence under the laws of the
 9   State of Kentucky and registered to do business in the State of California.
10   Toyota Motor Engineering and Manufacturing North America, Inc.’s Corporate
11   Headquarters are located at 25 Atlantic Avenue, Erlanger, Kentucky 41018.
12   Toyota Motor Engineering and Manufacturing North America, Inc. designs and
13   manufactures motor vehicles, parts, and other products for sale in California, in
14   the United States, and throughout the world.
15         38.   At all relevant times, Defendants were and are engaged in the
16   business of designing, manufacturing, constructing, assembling, marketing,
17   distributing, and selling automobiles and motor vehicle components in
18   California, and throughout the United States.
19                                   JURISDICTION
20         39.   This is a class action.
21         40.   Plaintiff and other class members are citizens of states different
22   from the home state of Defendant Toyota Motor Engineering and Manufacturing
23   North America, Inc.
24         41.   On information and belief, aggregate claims of individual Class
25   Members exceed $5,000,000.00 in value, exclusive of interest and costs.
26         42.   Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).
27                                         VENUE
28         43.   Toyota, through its business of distributing, selling, and leasing the

                                             Page 9
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 11 of 42 Page ID #:11



 1   Class Vehicles, has established sufficient contacts in this district such that
 2   personal jurisdiction is appropriate. Defendant is deemed to reside in this district
 3   pursuant to 28 U.S.C. § 1391(a).
 4         44.    In addition, a substantial part of the events, omissions, or
 5   misrepresentations giving rise to these claims and a substantial part of the
 6   property that is the subject of this action are in this district. In addition,
 7   Plaintiffs’ Declarations, as required under California Civil Code section 1780(d)
 8   but not pursuant to Erie and federal procedural rules, which reflect that
 9   Defendants are doing business in Los Angeles County, California, are filed
10   concurrently herewith as Exhibit 1.
11         45.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a).
12                              FACTUAL ALLEGATIONS
13         46.    For years, Toyota has designed, manufactured, distributed, sold, and
14   leased the Class Vehicles. Toyota has sold, directly or indirectly, through
15   dealers and other retail outlets, tens of thousands of Class Vehicles in California,
16   and throughout the United States.
17         47.    The Class Vehicles contain one or more design and/or
18   manufacturing defects that lead to the growth of mold within their HVAC
19   system, leading to emissions of mold and noxious, foul odors.
20         48.    On information and belief, the defect is contained in or around the
21   evaporator located within the HVAC system, which contributes to mold growth
22   from the collection of condensation moisture on the evaporator’s surface and the
23   external contaminants provided to the mold from airborne sources via the outside
24   air vents.
25         49.    Dating back to at least 1997, Toyota was aware of the defects of the
26   HVAC system. Toyota, however, failed and refused to disclose these known
27   defects to consumers. As a result of this failure, Plaintiffs and Class Members
28   have been damaged.

                                              Page 10
                                      CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 12 of 42 Page ID #:12



 1           The HVAC System Defect Poses an Unreasonable Safety Risk
 2         50.     Many purchasers and lessees of the Class Vehicles have experienced
 3   problems with the HVAC system. Complaints filed by consumers with the
 4   National Highway Traffic Safety Administration (“NHTSA”) and posted on the
 5   internet demonstrate that the defect is widespread. The complaints also indicate
 6   Defendants’ awareness of the problems with the HVAC system and the
 7   unreasonable health and safety risks of the HVAC Defect. The following are
 8   some safety complaints relating to the HVAC Defect (spelling and grammar
 9   mistakes remain as found in the original):
10         NHTSA Complaints (Safecar.gov, Search for Complaints (October 23,
11   2015), http://www-odi.nhtsa.dot.gov/complaints/):
12               a. (2011 Toyota Camry 03/17/2011) TL*THE CONTACT OWNS A
                    2011 TOYOTA CAMRY LE. THE CONTACT STATED THAT
13                  FOR THE LAST THREE MONTHS HE SMELLED AN ODOR
                    INSIDE THE VEHICLE WHEN HE TURNED THE AIR
14                  CONDITIONER/HEAT OFF. AFTER A WHILE HE BECAME
                    SICK AND WAS HOSPITALIZED, BUT THEY COULDN'T
15                  FIGURE OUT WHAT CAUSED HIM TO BECOME SICK. THE
                    VEHICLE WAS INSPECTED BY A DEALER WHO ADVISED
16                  HIM THAT THE FILTER UNDERNEATH THE GLOVE BOX
                    MAY NEED TO BE CHANGED. THEY WERE ABLE TO
17                  DUPLICATE THE FAILURE, SMELL THE ODOR AND A
                    TECHNICIAN FROM THE FACTORY WAS NOTIFIED.
18                  WHEN THE TECHNICIAN INSPECTED THE VEHICLE
                    THEY ADVISED HIM THAT THEY COULD NOT LOCATE
19                  WHERE THE ODOR WAS CAME FROM; HOWEVER, HE
                    ADDED A SPECIAL FILTER TO THE VEHICLE TO KEEP
20                  THE ODOR OUT. WITHIN A FEW WEEKS HE SMELLED
                    THE STRONG ODOR AGAIN. THE FAILURE MILEAGE
21                  WAS     APPROXIMATELY         3,000.  THE  VIN  WAS
                    UNAVAILABLE.
22
                 b. (2011 Toyota Camry 08/22/2014) TL* THE CONTACT OWNS
23                  A 2011 TOYOTA CAMRY. THE CONTACT NOTICED AN
                    ABNORMAL ODOR IN THE VEHICLE WITHIN A MONTH
24                  OF IT BEING PURCHASED. THERE WAS ALSO WHITE
                    POWDER COMING FROM THE AIR VENTS WHENEVER
25                  THE AIR CONDITIONER WAS ACTIVATED. THE
                    CONTACT STATED THAT THE ODOR WAS CAUSING HER
26                  AND HER FAMILY TO BECOME ILL. THE VEHICLE WAS
                    TAKEN TO THE DEALER MULTIPLE TIMES AND STATED
27                  THAT THE EVAPORATOR SYSTEM CAUSED THE
                    FAILURE. THE DEALER CHANGED THE EVAPORATOR
28                  SYSTEM, BUT THE ODOR PERSISTED. THE CONTACT

                                           Page 11
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 13 of 42 Page ID #:13



 1              CLEANED THE VEHICLE AND MADE SURE ALL THE
                WINDOWS WERE CLOSED IN ORDER TO ELIMINATE THE
 2              FAILURES, BUT WHITE POWDER CONTINUED TO COME
                THROUGH THE VENTS. THE CONTACT WAS VERY
 3              CONCERNED THAT THE WHITE POWDER COULD BE
                TOXIC, ESPECIALLY SINCE IT WAS MAKING HER AND
 4              HER FAMILY NAUSEOUS. THE CONTACT ATTEMPTED
                TO USE AIR FRESHENERS IN THE VEHICLE, BUT THE
 5              ODOR WAS STILL PRESENT. THE MANUFACTURER WAS
                MADE AWARE OF THE FAILURE. THE FAILURE
 6              MILEAGE WAS 80. UPDATED 10/29/14*CN
 7            c. (2012 Toyota Camry 01/29/2015) I HAVE HAD MULTIPLE
                 PROBLEMS WITH MY 2012 CAMRY. PURCHASED IT NEW
 8               AND STARTED HAVING PROBLEMS AROUND 3,500
                 MILES. FIRST, NOTICED A MILDEW SMELL THAT THEY
 9               STATED WAS FROM THE AC WHICH THEY FIXED.
                 CONTINUED TO HAVE THE ODOR AND FOUND OUT
10               15,000 MILES LATER THAT THERE WAS A LEAK IN THE
                 AC THAT WAS PRESSING ON MY AIRBAGS SO THE
11               ENTIRE AIRBAG SYSTEM NEEDED TO BE REPLACED.
12            d. (2012 Toyota Camry 08/02/2014) I DROVE THIS 2012 CAMRY
                 ON THE HIGH WAY TO NASHVILLE TN FOR 8 DAYS
13               VOCATION STARTED 28 JUNE 2014, LOT OF WATER
                 COMING OUT FROM CARPET, HAD TO STOP AND CLEAN
14               WATER IN EVERY COUPLE HOURS(MY HAND WAS
                 INJURED WHEN CLEANING UP WATER). AFTER I
15               ARRIVED A HOTEL, I SEARCHED ON THE INTERNET
                 AND FOUND OUT THAT TOYOTA HAD A RECALL IN DEC
16               2013 ON THIS A/C WATER LEAK, IT CAN CAUSE "AIRBAG
                 WARNING LIGHT", ELECTRONIC POWER STEERING
17               LIGHT", OR OTHER PROBLEMS. WE ARE VERY WORRIED
                 ABOUT CAR MAY CAUSE ACCIDENT IN THE WHOLE
18               VOCATION. ­­­­­­ AFTER BACK TO ROCHESTER NY,
                 CALLED TOYOTA AND THEY TOLD ME GO TO TOYOTA
19               SERVICE TO REPAIR THIS PROBLEM; SO I WENT TO
                 HENRIETTA NY TOYOTA SERVICE AND TOLD THEM A/C
20               WATER LEAK, THEY SAID THEY WILL FIX THAT, ON
                 THE SERVICE REPORT PRINTED:" CUSTOMER STATES
21               THERE IS A WATER LEAK", "WORK PERFORMED BY
                 XXXX", "CLEANED A/C DRAIN". BUT THE MANAGER
22               LIED TO ME, HE SAID THERE IS NO RECALL. ­­­­­­ NOT
                 SURE IF IT IS TOTALLY FIXED, CAR STILL VERY MOIST,
23               SMELL IS BAD, EVEN AFTER OPEN CAR'S 4 DOORS, PUT
                 THE CARPET BASK IN THE SUN FOR FEW DAYS. ­­­­­­
24               YESTERDAY, I FOUND ANOTHER TOYOTA SERVICE
                 REPORT AND RECALL LETTER FROM TOYOTA ON
25               12/28/2013,   AND     THIS    REPORT    SHOWS     THEY
                 "PERFORMED WORK BY XXXX." . I TOTALLY FORGOT
26               THIS CAR RECALLED AND ALREADY PERFORMED THE
                 "FIX" FOR A/C WATER LEAK PROBLEM, OBVIOUSLY,
27               TOYOTA SERVICE DID NOT FIX THIS PROBLEM AND
                 THEY LIED TO ME. ­­­­­­ THIS CAMRY HAS DAMAGE
28               UNDER CARPET BECAUSE OF WATER LEAK, IT MAY

                                         Page 12
                                  CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 14 of 42 Page ID #:14



 1              CAUSE SOME ELECTRIC CIRCUITS PROBLEMS IN THE
                FUTURE, I DON'T WANT TO BE WORRY EVERYDAY, SO I
 2              DON'T WANT THIS CAR ANY MORE (THE LEASE TERM
                WILL END IN ONE MORE YEAR AND A MONTH, I PAID
 3              $3000 DOWN PAYMENT FOR 3 YEAR LEASE, ALSO
                EVERY MONTH PAYMENT). WHAT IS MY CHOICE? ­­­­­­
 4              THANKS!
 5            e. (2012 Toyota Camry 05/17/2014) FOR THE PAST SEVERAL
                 MONTHS MY 2012 CAMRY A/C UNIT RELEASES A FOUL
 6               MILDEW ORDER. IN­CABIN FILTER AS WELL AS OZONE
                 DEPLETION SPRAY WAS COMPLETED TWICE OVER
 7               THE SPAN OF ONE WEEK AT CROWN TOYOTA,
                 HOWEVER THE FOUL SMELL SHORTLY REAPPEARS
 8               WHEN THE CAR IS TURNED ON. *JS
 9            f. (2012 Toyota Camry 05/02/2014) . . . A/.C HAVE BAD SMELL
                 WHEN I TURN OFF THE A/C LEAK LOTS OF
10               WATER,WHEN I STOP AND TOOK OFF THE CAR SKID
                 AND A LIGHT ABS LIGHT ON THE PANEL.I SPOKE TO
11               THE MGR AND HE TOLL ME WAS NORMAL WHEN A/C
                 OFF OPEN THE OUTSIDE AIR TO THE SMELL GO AWAY
12
              g. (2012 Toyota Camry 01/02/2014) P/O RESPONSE LTR TO
13               TOYOTA CORP. RE 2012 CAMRYDATE: DECEMBER 26,
                 2013 - ...FURTHERMORE,MY BROTHER AND I HAVE
14               STRESSED TO EVERYONE WE HAVE SPOKEN WITH
                 SINCE OUR FIRST CONTACT ON DEC16, 2013 WITH
15               TOYOTA       REGARDING         THESE    DANGEROUS
                 MECHANICAL PROBLEMS I.E., THE UNINTENDED
16               ACCELERATION, STEERING PULLING TO THE RIGHT AS
                 WELL AS THE OFFENSIVE ODOR THAT OCCURS WHEN
17               THE AC IS TURNED ON.
18            h. (2013 Toyota Camry 01/05/2015) ANYTIME DURING WARM
                 WEATHER WHEN THE AIR CONDITIONER HAS BEEN/IS
19               BEING USED THERE IS A DISGUSTING FOUL MILDEW
                 ODOR IMMEDIATELY UPON STARTING THE VEHICLE.
20               THE ODOR IS NAUSEATING AND CAUSES HEADACHES.
                 EVERY TIME THE CAR IS DRIVEN, I HAVE TO TURN ON
21               THE HEAT AND PUT ALL THE WINDOWS DOWN FOR
                 ABOUT 5-10 MINUTES TO GET RID OF THE ODOR.
22               APPARENTLY       THERE       IS   AN   ISSUE   WITH
                 CONDENSATION FROM THE AC NOT DRAINING
23               PROPERLY. I HAVE BEEN ABLE TO FIND SEVERAL
                 SIMILAR COMPLAINTS ONLINE. SOME DEALERSHIPS
24               CLAIM THEY HAVE NEVER HEARD OF THIS ISSUE,
                 WHILE OTHERS ADMIT THAT THEY ARE AWARE OF IT
25               BUT THAT TOYOTA HAS NO "FIX" FOR IT. BREATHING
                 IN MOLD IS A SAFETY CONCERN. THIS DOES NOT
26               OCCUR IN THE WINTER WHEN AC IS NOT USED.
27            i. (2014 Toyota Camry 9/22/2015) MY 2014 CAMRY HAS LESS
                 THAN 20,000 MILES ON IT AND I AM ABOUT TO BE ON
28               MY 3RD CABIN FILTER DUE TO A MOLDY SMELL IN MY

                                         Page 13
                                  CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 15 of 42 Page ID #:15



 1                 CAR. I BOUGHT THIS CAR FOR MY WIFE BRAND NEW
                   AND I HAVE COMPLAINED TO THE DEALERSHIP
 2                 MULTIPLE TIMES ABOUT THIS ISSUE. THEY HAVE
                   ACCEPTED THE FAULT AND IN APRIL OF THIS YEAR
 3                 THEY REPLACED THE CABIN FILTER FREE OF CHARGE.
                   LESS THAN 6 MONTHS LATER IT HAS GONE BAD AGAIN,
 4                 THE CAR SMELLS MOLDLY AND MY CHILD AND WIFE
                   ARE SURROUNDED BY THIS MOLDY SMELL WHENEVER
 5                 THE A/C IS ON. I HAVE FILED A COMPLAINT WITH
                   TOYOTA WITH THE REQUEST FOR THEM TO BUY-BACK
 6                 THIS VEHICLE FROM ME AS EVERY OTHER VEHICLE I
                   HAVE OWNED DOESN'T NEED A CABIN FILTER UNTIL
 7                 50-60K MILES. TOYOTA HAS ACKNOWLEDGED THIS
                   ISSUE AND FAULT. I WAS ADVISED TO PLACE A
 8                 COMPLAINT AT THIS TIME HERE SINCE THIS ODOR IS
                   EFFECTING MY FAMILIES HEALTH. TOYOTA HAS BEEN
 9                 SLOW RETURNING MY CALLS AND HAS ADVISED ME
                   THAT THIS PROCESS WILL TAKE OVER 30 DAYS FROM
10                 HERE.
11               j. (2014 Toyota Camry 3/28/2015) THERE IS SOMETHING
                    SERIOUSLY WRONG WITH THIS VEHICLE'S AIR
12                  CONDITIONING SYSTEM. IT HAS BEEN OMITTING A
                    FOUL, MOLDY, MILDEWY, BAD BO (BODY ODOR),
13                  MUSTY, SOUR SMELL SINCE ONLY OWNING THE
                    VEHICLE FOR LESS THAN HALF A YEAR. THIS IS A
14                  HUGE SAFETY/HEALTH ISSUE & NEEDS TO BE
                    REMEDIED ASAP. I MYSELF HAVE ALLERGIES & THE
15                  SMELL BLOWING OUT FROM THE VENTS ON A DAILY
                    BASIS IS CAUSING ME TO BE VERY SICK. I HAVE TAKEN
16                  THE VEHICLE INTO THE DEALERSHIP SEVERAL TIMES
                    & THERE IS NO PERMANENT FIX. IT IS A RECURRENT
17                  PROBLEM WITH THIS MANUFACTURER'S VEHICLES &
                    THEY HAVE NOT BOTHERED TO ADDRESS OR REMEDY
18                  THE PROBLEM. THERE ARE MANY OTHER OWNERS
                    WITH THE SAME VEHICLE WHO ARE ALSO
19                  EXPERIENCING THE SAME PROBLEMS.
20               k. (2014 Toyota Camry 11/23/2014) WHEN STARTING VEHICLE
                    AND TURNING ON A/C A VERY FOUL ODOR OF MILDEW
21                  AND MOLD COMES FROM THE VENTS. WE HAVE TAKEN
                    IT BACK TO THE DEALERSHIP FOR A CLEANING AND
22                  REPLACED THE FILTER WITH A CARBON ONE AT THE
                    DEALERSHIP AT OUR EXPENSE. THIS DID NOT FIX THE
23                  ISSUE. WE FOLLOW INSTRUCTIONS OF RUNNING AC IN
                    NON RECIRCULATING MODE TO NO AVAIL. TOYOTA
24                  DOES NOT SEEN TO WANT TO TAKE OWNERSHIP OF
                    THE ISSUE. I AM CONCERNED OF OUR HEALTH FROM
25                  INHALING THESE MOLD SPORES AND BACTERIA.
26         51.     Also, complaints posted by consumers in internet forums
27   demonstrate that the defect is widespread. The complaints also indicate
28   Defendants’ awareness of the problems with the HVAC system and how

                                           Page 14
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 16 of 42 Page ID #:16



 1   potentially dangerous the defective condition is for consumers. The following
 2   are some safety complaints relating to the HVAC Defect (spelling and grammar
 3   mistakes remain as found in the original) (CarComplaints.com (October 23,
 4   2015), http://www.carcomplaints.com/):
 5          CarComplaints.com 2012 Toyota Camry – Consumer Reviews
 6            a. (2012 Toyota Camry) I have been in to the dealer 3x for this
                 problem. The service person can smell the odor but the
 7               mechanic's cannot. The first time I went in they said it was full of
                 water that was not draining. The next time I went in they claimed
 8               they don't smell anything, yet the opened a ticket with Toyota.
                 The smell has now become unbearable and it is making me sick
 9               because I have health issues with my immune system. The smell
                 occurs each time you turn on the a/c, no matter how long it has
10               been sitting. They told me that they have never had this problem
                 before and don't know what to do. When I called Toyota's 800
11               number the dealer told them they took apart the dash. They are
                 liars.Do you or did you have this problem and did they find a
12               solution. I hate driving my new car.
13            b. (2012 Toyota Camry) Bad smell from a/c when it is turned on
                 every day. Took to dealer for inspection and told me everything is
14               ok . Gave me an instruction sheet indicating to turn a/c to fresh air
                 mode every day before turning the engine off. Never had this
15               problem before in any other car even in another Camry 2010 that
                 I leased before. I suspect that the problem is water not draining
16               correctly. Will take the car again to get the problem resolved. It's
                 a shame, I was very happy with my prior Camry which was
17               perfect and now I hate this car.
18            c. (2012 Toyota Camry) ok. I am reporting for the first time
                 however tomorrow will be my second trip to the dealer. Mold
19               smell coming from ac, Toyota does know this is a problem. Don't
                 let them tell you otherwise! The first time I went to dealer they
20               ran some sort of disinfecting solution through the system. This
                 just masks the smell for a short time, if you google "dirty sock
21               syndrome ac" you will find several articles on the subject. It can
                 happen in cars and home ac units. Here in florida we have a three
22               strike lemon law, as noted this will be strike two if they fail to
                 resolve the problem. The only way to fix it is to purge the system,
23               replace the compressor and evaporator coil. Even this sometimes
                 does not fix it. I plan to give the dealer three chances to resolve, I
24               have started a case number with Toyota USA and contacted the
                 Florida Attorney Generals office. They have told me to allow the
25               dealer 3 attempts and if not resolved the dealer will have the
                 option to buy back the car for the total purchase price or give me
26               a new car. DO NOT LET TOYOTA SCREW YOU OVER! IT IS
                 A REPORTED PROBLEM! I have been told Toyota tech.
27               services is working on a solution but as of now no known fix.
                 This means they will delay for as long as possible hoping you will
28               give up. There are hundreds of reported cars with this problem,

                                            Page 15
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 17 of 42 Page ID #:17



 1               and over all it has been reported that 3% of the 2012 model have
                 been lemons for a host of problems. That number is up from <1 %
 2               for previous years 0711. Toyota quality? What quality!
 3            d. (2012 Toyota Camry) So I have the foul smell which tarted at 3k
                 miles! I just upgraded from my 2007 to the 2012. I was so happy
 4               with my old car, now I am just pissed. My dealer is going to run
                 the A/C cleaner a no charge for my first oil change. This is a band
 5               aid for this problem and I am sure it will be back. Dirty Socks
                 smell coming from a brand new car, come on Toyota. I loved my
 6               old 2007 and am now about to trade in my brand new car. I have
                 asthma, thids has not effected me yet, but who knows if it will! I
 7               am so disappointing in my new car because of this. The last thing
                 I want is the dealer tearing apart my dash and messing with
 8               stuff!!! Gonna file my first complaint with Toyota. If this is not
                 fixed in 2 times I will let the attorneys do the talking!!! Good luck
 9               folks. I am not happy about this at all, as you may see!!
10            e. (2012 Toyota Camry) Horrible smell coming out of the vents
                 after starting car before I turn on the AC. Smells like very strong
11               cat pee. The car is garage kept. (2012 Toyota Camry) Bad smell
                 from a/c when it is turned on every day. Took to dealer at least 3
12               times and the problem is still the same. Given instructions to turn
                 a/c to fresh air mode every day before turning the engine off.
13               Now the smell is coming directly from the fresh air outside. It
                 seems to be a water drying or draining problem based on
14               conversation with service manager. Will take the car again for the
                 4th time, to get the problem resolved. It's a shame and I am really
15               mad. I was very happy with my prior Toyota and I am really
                 disappointed now.
16
              f. (2012 Toyota Camry) This smell is like mold out of the unit when
17               it is turned on after sitting a while. It is nasty, stale, and most
                 unpleasant. I had a Lexus with the same problem. I believe the
18               parts Toyota and it Lexus division use for HVAC are not right as
                 my mom's Rav4 also gets that moldy smell a lot, she complains.
19
              g. (2012 Toyota Camry) We bought this 2012 Camry at the end of
20               the 2012 year. It only has 8,000 k on it right now, and we have an
                 ongoing issue that Toyota denies having ever seen before,
21               however when we go to the TOYOTA NATION WEBSITE, you
                 can find a HUGE THREAD of complaints about this issues, none
22               of which Toyota seems to be doing a damn thing about!!! THIS
                 CAR which has never been eaten in or smoked in and is
23               showroom spotless in and out, has a HORRID STINK coming
                 from the AC vents! We live in Indiana, keep the car spotless, and
24               are disgusted that when we take the car into the dealership they
                 can acknowledge that they smell the stink, but have not been able
25               to offer a fix . The car sat there for an entire week before they
                 called us to come get it, and had not done one thing to it!!!! We
26               have filed a formal complaint online with the Toyota Corporation,
                 but even this seems to be of no avail and everyone says the same
27               thing, 'WE HAVE NOT SEEN THIS PROBLEM BEFORE"
                 However, I know it is not trueas I said, go to Toyota Nation and
28               see for yourself!!!! This is disgusting and I would love to know

                                           Page 16
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 18 of 42 Page ID #:18



 1               how to get this situation resolved! I did not pay 26,000 dollars for
                 a car that would stink so badly that no one wants to get into it!!!!
 2               I would not have even bought a USED car that stunk!!!! What can
                 I do???
 3
              h. (2012 Toyota Camry) We bought a 2012 Toyota Camry SE from
 4               Stevens Creek Toyota NEW for $27,000. We have always kept it
                 garaged and have it cleaned weekly at the carwash. At around
 5               10,000 miles we started getting a foul smell out of AC and
                 thought we were just crazy because the interior still smells of new
 6               car until we start it. Now after several months and extreme
                 discomfort and humiliation we are utterly disgusted that we have
 7               bought a car that has such a horrible problem. I can't wait for the
                 lawsuit and will be contacting a lawyer soon to start filing a class
 8               action suit against Toyota. So let's all band together and report
                 this problem to the Better Business Bureau. I have only put 1000
 9               miles on my car in the last 10 months due to the horrid smell and
                 discomfort! Toyota should recall all our cars immediately before
10               they lose there tales and get horrible publicity. Tell everyone you
                 know about what horrible products Toyota has and never to buy
11               from them again!
12            i. (2012 Toyota Camry) Bad odor every time the a/c is turned on.
                 Kids are embarrassed to have their friends ride in the car.
13
            CarComplaints.com 2013 Toyota Camry – Consumer Reviews
14
              a. (2013 Toyota Camry) My 2013 Camry started smelling bad (wet
15               sock/wet dog) from the Ac/Heater vents at 13,300 miles. I
                 replaced the cabin filter at my expense at 14,000 miles. The smell
16               is still there. The Asst. Service Mgr. said to turn the car off about
                 5 to 10 minutes before you reach your destination to dry out the
17               vents. I have driven the car for one more week after replacing the
                 cabin filter and there is no change in the smell. If you turn off the
18               ac and the heater and just let the car run the smell is still there. I
                 think there may be a serious problem that the dealership is not
19               admitting to. I have written the Toyota Motor Corporation about
                 the problem and hope to hear from them shortly.
20
              b. (2013 Toyota Camry) 2013 Toyota Camry-10,000 miles Really
21               bad odor coming from A/C when first start up with air on. Smells
                 like stagnant water. We have just started the process with a
22               Toyota Service Dept. They have had the Camry for a day and a
                 half. Picked it up and will return it two days later to replace Cabin
23               Filter w/Charcoal Cabin Filter. Service Manager said we should
                 try turning the air to vent or off the last 10 minutes of driving so
24               A/C could dry out. Camry has been returned to Toyota Service
                 Department at 5,000 miles for a recall to put a catch pan to keep
25               condensation off air bag wiring. Could the be a drainage
                 problem? Can it be fixed?
26
              c. (2013 Toyota Camry) Moldy odor in the A/C unit. I brought it to
27               the dealer and they have made many excuses. I call the Toyota
                 Motors Company . they tell me they will send a technical
28               professional master , but i have to live without my car overnight

                                            Page 17
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 19 of 42 Page ID #:19



 1               and get my car the next day or evening , Toyota Moto doesn't
                 want to provide a Rent car . they said is my problem. My wife
 2               had asthma a long time ago, she'd been able to control it. But,
                 since we have this car and the moldy odor from the ac vent, she
 3               started to get sick with asthma attacks. I did tell the situation to
                 Toyota ,they filed the claim, and they canceled because the said i
 4               say different versions & they told me I lied . Toyota knows there
                 is a problem with the car but they don't want to take
 5               responsibility, They don't care about the Health of every North
                 American. All they want is Money. Is there anybody who can
 6               help with this? We need go to Legal advice. I bring my car too
                 many time to the dealer & the cover the problem temporarily,
 7               change air filter etc,,,
 8            d. (2013 Toyota Camry) I am very allergic to mold, so this explains
                 my headaches every morning on my 2 hour commute to work and
 9               the lovely 2 hours back. There is a disgusting and very foul scent
                 that emanates from the vents when I turn on the heater or the air
10               conditioning and it has become progressively worse over the last
                 few months. My husband complained about it before our second
11               service at 10K. When we took it in the service manager told us
                 this is a common problem amongst all Toyota vehicles. He said
12               that the drainage system doesn't seem to work very well (which
                 you would think after the myriad of complaints they would find a
13               way to fix this issue - it is disgusting and more disgusting when
                 you spent over $36,000.00 of your hard earned money on a car
14               that people don't want to get in from your law firm because of the
                 awful stench!!).......He said that the condensation from running
15               the heater or AC builds and doesn't drain properly and then
                 begins to build up mold and bacteria. He said "we" meaning my
16               husband and I could go down to Kragen and buy a pine scented
                 spray that would help (NOT).... and I then proceeded to tell him
17               that this wasn't my issue but TOYOTA's and for it to be fixed.
                 They changed the filter and said they ran a FRIGI FRESH anti -
18               bacterial liquid through and that would help. Oh and for me to
                 make sure I press this and that on the air conditioning buttons
19               about 10 minutes from home so that it drains as much as possible
                 and that would help. (I don't think I should have to do
20               ANYTHING at all after 10,000 miles) It's as if there is a dead
                 squirrel in my engine! It's disgusting and its giving me MAJOR
21               headaches due to my allergies). I have filed a complaint with
                 Toyota USA, with the Dublin Toyota where I purchased it. The
22               smell needless to say came back the second time we drove it in
                 the evening after our service. and is back FULLY.
23
              e. (2013 Toyota Camry) smell and allergens coming from vent wit
24               or without a/c on Toyota sprayed alcohol foam into unit...got rid
                 of mold smell, but not toxic allergens. Cannot drive car without
25               getting ill. August 2, 2013 interior "sanatized" for $70. Mold
                 smell temporarily gone, still makes our eyes water, noses to run,
26               and gives us a sore throat to drive car with windows
                 closed...appears to be allergen.
27
              f. (2013 Toyota Camry) Wet, moldy smell coming from the air
28               vents, even when off. Took it to the dealership and was told to

                                           Page 18
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 20 of 42 Page ID #:20



 1               turn the AC off on the last minutes of my drive to let the system
                 recover? WHAT? That's sort of an inconvenient under the Florida
 2               merciless sun... Love the car, love the space, the drive, everything
                 about it! Except the smell and the possible complications that
 3               come with it.
 4          CarComplaints.com 2013 Toyota Camry – Consumer Reviews
 5            a. (2014 Toyota Camry) We purchased a 2014 Camry in December
                 2013 and the first summer is when the air conditioning started to
 6               blow mildew and musty smell. We complained to the dealership
                 and the technician told my husband to make sure we ran the air
 7               conditioning on uncirculated cabin air so the vents would dry out
                 from the moisture of being on max air cabin circulation. Needless
 8               to say that has not done anything and I just had my cabin air filter
                 changed last month and it did nothing either. Since I have
 9               researched this problem it appears there is a terrible problem with
                 Toyota Camry and also Lexus is having this problem. I have only
10               found a class action lawsuit out of California and no solution on
                 that case that I know of. It appears from everyone else that there
11               is not a fix and Toyota needs to compensate or recall. Anyone
                 else know of a solution that has been met? Before I pay any more
12               money to try and fix a problem that is unfixable, does anyone
                 know of any other law suits on this problem? Since the problem is
13               so dominant in the Toyota Camry I will not buy another Toyota.
                 Very disappointed in my new car, wish I could get rid of it.
14
              b. (2014 Toyota Camry) Same problem with the bad odor coming
15               through the AC/heat vents. It began just before the car turned one
                 year old. Toyota's solution is ridiculous: Run the fresh air only
16               (no A/C) for 15 minutes before you turn the car off. Yeah right!
                 Especially when it's 95 degrees outside and you're running a 10
17               minute errand. Plus, there is no logical reason that would work.
                 They claim it reduces moisture in the condenser but, when the
18               outside humidity is over 80%, seems like you're only introducing
                 more moisture into the system. We had a cool enough day this
19               week to run only the vent air, without A/C and not on re-circulate.
                 Still smelled when we turned it on. So, I think this problem will
20               only continue, even into heating season. Maybe there is
                 something in the hoses that connect the vents to the blower unit?
21               Right now the odor dissipates after a minute or so but it sounds
                 like this is only going to get worse. I guess we are lucky. Our
22               local dealer did the prescribed clean out of the evaporator,
                 injected some kind of disinfectant and installed a charcoal cabin
23               filter instead of the paper one it comes with. They said they ran it
                 quite a while until the disinfectant odor went away. All of this for
24               no charge. Unfortunately, it didn't help much. They also tried to
                 convince me that the charcoal filter kills bacteria, which is b.s. It
25               is a better odor absorber but it doesn't kill anything. I called to
                 complain again and have not yet heard back. I wish we had
26               known about this before buying the car. We've been loyal to
                 Toyota and haven't bought a brand new car since '93. It might not
27               have been this one. So disappointing to learn they have known
                 about this problem for several years and refuse to do anything
28               about it. Still trying to convince everyone that it is normal for the

                                           Page 19
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 21 of 42 Page ID #:21



 1                  A/C system to emit odors.
 2               c. (2014 Toyota Camry) Car has a very strong B.O. type smell
                    coming from the A/C ducts when the recirculate is on. I've
 3                  sprayed with a duct cleaner and deodorizer but the problem
                    persists. After taking it into Toyota they suggested that some
 4                  mud buildup within the wheel wells was likely causing the
                    odor...They recommended I purchase a carbon-type cabin filter
 5                  for $60 to help (not eliminate) the smell. I've tried dousing the
                    intake at the cabin filter with Lysol but the smell still hasn't
 6                  improved. I've also checked the drain line but it appears to be free
                    and clear of any buildup. The next step at the dealership, I'm told,
 7                  is to contact Toyota engineering for a recommended fix. On my
                    invoice a service of 'Foam Flush Evap Coil' was marked as
 8                  'Declined by Customer'...this was done by the service manager
                    because it wouldn't be covered by Toyota at this time. Only thing
 9                  left to do now is use the recirculate less as suggested...
10               d. (2014 Toyota Camry) Ok now I'm really getting sick of the awful
                    musty, sour, BO smell. Don't even feel like getting in the car
11                  anymore. Every time I turn the A/C on it stinks!
12               e. (2014 Toyota Camry) No surprise the 2014 Camry has the same
                    problem as previous years. Sure wish I had investigated prior to
13                  purchase.To have purchased a new car and get this problem so
                    early prior to 7000 miles is totally disgusting. The dealership has
14                  changed cabin filter, inserted some solution somewhere and
                    recently sprayed foam in the lines. Then they spray some
15                  disgusting perfume that they think will cover the smell. No a
                    happy camper.
16
17         52.      The HVAC Defect poses an unreasonable safety risk for Class
18   Members. Many consumers may suffer from allergies and asthma, which can be
19   triggered or aggravated by the presence of mold and other allergens or bacteria in
20   the Class Vehicles’ HVAC system. For example, the Environmental Protection
21   Agency (“EPA”) has stated on its website that the “[p]otential health effects and
22   symptoms associated with mold exposures include allergic reactions, asthma,
23   and other respiratory complaints.” According to the EPA, “the way to control
24   the indoor mold growth is to control moisture” and to fix the “source of the water
25   problem or leak to prevent mold growth.”5 Moreover, Toyota’s admission in its
26   technician’s training manual that no permanent mechanical repair exists means
27         5
             Environmental Protection Agency, “Mold Resources,”
28   http://www.epa.gov/mold/moldresources.html (last visited February 18, 2015).
                                              Page 20
                                       CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 22 of 42 Page ID #:22



 1   that there is no practical way to completely get rid of the mold. Such a defect
 2   poses a safety hazard to the general public and increases health risks to the
 3   vehicles’ drivers and passengers alike.
 4               Toyota Has Exclusive Knowledge of the HVAC Defect
 5         53.    Toyota had superior and exclusive knowledge of the HVAC Defect,
 6   and knew or should have known that the defect was not known or reasonably
 7   discoverable by Plaintiffs and Class Members before they purchased or leased
 8   the Class Vehicles.
 9         54.    Plaintiffs are informed and believe, and based thereon allege, that
10   before Plaintiffs purchased their Class Vehicles, and since at least 1997, Toyota
11   knew about the HVAC Defect through sources not available to consumers,
12   including: early consumer complaints about the HVAC Defect to Defendants’
13   dealers who are their agents for vehicle repairs; warranty claim data related to
14   the defect; consumer complaints to the NHTSA and resulting notice from
15   NHTSA; early consumer complaints on websites and internet forums; dealership
16   repair orders; testing conducted in response to owner or lessee complaints; TSBs
17   applicable to the Class Vehicles; and other internal sources of aggregate
18   information about the problem.
19         55.    Defendants have been aware of the HVAC Defect since at least
20   May 9, 1997, before the Class Vehicles were sold, and when the first TSB
21   addressing the issue was released for an identical or substantially similar HVAC
22   system. On or around May 9, 1997, Defendants issued TSB AC002-97, which
23   addressed “AIR CONDITIONING EVAPORATOR ODOR” in “all models”
24   including the Camry.
25         56.    Another TSB for an identical or substantially similar HVAC system,
26   “TSB-0261-09,” issued in or around August 2009, which addressed “HVAC
27   Odor” in the 2007-2010 Camry, Camry HV, and 2004-2008 Prius vehicles.
28         57.    Further, Toyota’s TSB 0142-13, published on or around

                                            Page 21
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 23 of 42 Page ID #:23



 1   September 18, 2013, covering a variety of vehicles, including, but not limited to,
 2   the 2012 Toyota Camry, informed dealers that “Some 2004 - 2014 model year
 3   Toyota vehicles may exhibit odors naturally occurring from the HVAC system
 4   and/or related environmental factors. Although there is no way to eliminate these
 5   odors, follow the General Procedure in this bulletin to minimize the odors
 6   experienced.”
 7         58.    In addition, a Toyota technician’s training manual published in 2005
 8   indicated that “A/C system odors are a common complaint among users,
 9   especially after start up.” It goes on to explain that the odors can be caused by
10   “[m]icrobes [i.e., mold] growing on the evaporator surface” that are “small living
11   bacteria . . . carried into the evaporator case [that] grow in the warm, moist
12   environment.” Additionally, it states that there is “no permanent mechanical
13   repair” for this issue.
14         59.    The alleged HVAC Defect was inherent in each Toyota Camry
15   vehicle and was present in each Toyota Camry at the time of sale.
16         60.    The existence of the HVAC Defect is a material fact that a
17   reasonable consumer would consider when deciding whether to purchase or lease
18   a vehicle. Had Plaintiffs and other Class Members known that the Class
19   Vehicles were equipped with defective HVAC systems, they would not have
20   purchased or leased the Class Vehicles or would have paid less for them.
21         61.    Reasonable consumers, like Plaintiffs, expect that a vehicle’s HVAC
22   system is safe, will function in a manner that will not pose a safety hazard, and is
23   free from defects. Plaintiffs and Class Members further reasonably expect that
24   Toyota will not sell or lease vehicles with known safety defects, such as the
25   HVAC Defect, and will disclose any such defects to its consumers when it learns
26   of them. Plaintiffs and Class Members did not expect Toyota to fail to disclose
27   the HVAC Defect to them and to continually deny the defect.
28   ///

                                            Page 22
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 24 of 42 Page ID #:24



 1                  Toyota Has Actively Concealed the HVAC Defect
 2         62.    While Toyota has been fully aware of the HVAC Defect in the Class
 3   Vehicles, it actively concealed the existence and nature of the defect from
 4   Plaintiffs and Class Members at the time of purchase, lease or repair and
 5   thereafter. Specifically, Toyota failed to disclose or actively concealed at and
 6   after the time of purchase, lease, or repair:
 7                (a)    any and all known material defects or material nonconformity
 8                       of the Class Vehicles, including the defects relating to the
 9                       HVAC systems;
10                (b)    that the Class Vehicles, including their HVAC systems, were
11                       not in good in working order, were defective, and were not fit
12                       for their intended purposes; and
13                (c)    that the Class Vehicles and their HVAC systems were
14                       defective, despite the fact that Toyota knew of such defects in
15                       the HVAC systems through customer complaints, and other
16                       internal sources, as early as 1997.
17         63.    As a result of the HVAC Defect, Toyota was inundated with
18   complaints regarding the Camry’s HVAC system.
19         64.    As a result of the HVAC System defect, Toyota issued multiple
20   Technical Service Bulletins (“TSBs”) for an identical or substantially similar
21   HVAC system to its dealers in the United States, acknowledging defects in the
22   HVAC system and attempting to address the issue. For example, on or about
23   May 9, 1997, as a result of the HVAC Defect, Toyota issued TSB AC002-97 to
24   its dealers in the United States, acknowledging to its dealers that the HVAC
25   system and its associated parts for “all models,” including the Camry, were
26   defective and malfunctioning. The TSB, titled “AIR CONDITIONING
27   EVAPORATOR ODOR,” informs dealers that a “musty odor may be emitted
28   from the air conditioning system of some vehicles,” and one reason for this odor

                                             Page 23
                                      CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 25 of 42 Page ID #:25



 1   is from “[m]icrobial growth in the evaporator, arising from dampness in the
 2   evaporator housing where the cooling air flow is dehumidified.” However, on
 3   information and belief, consumers continued to experience problems with their
 4   vehicles despite the fix, including, but not limited to, emissions of noxious and
 5   foul odors from and mold growth in the HVAC system.
 6         65.   Additionally, on or about August 2009, Toyota released yet another
 7   TSB, TSB-0261-09, to its dealers in the United States, titled “HVAC Odor,”
 8   once again acknowledging that the HVAC system and its associated parts for
 9   2007-2010 Camry, Camry HV and 2004-2008 Prius vehicles were defective and
10   malfunctioning. However, on information and belief, consumers continued to
11   experience problems with their vehicles despite the fix, including, but not limited
12   to, emissions of noxious and foul odors from and mold growth in the HVAC
13   system.
14         66.   Further, Toyota’s TSB 0142-13, published on or around
15   September 18, 2013, covering a variety of vehicles, including, but not limited to,
16   the 2012 Toyota Camry, informed dealers that “Some 2004 - 2014 model year
17   Toyota vehicles may exhibit odors naturally occurring from the HVAC system
18   and/or related environmental factors. Although there is no way to eliminate
19   these odors, follow the General Procedure in this bulletin to minimize the odors
20   experienced.” However, on information and belief, consumers continued to
21   experience problems with their vehicles despite the fix, including, but not limited
22   to, emissions of noxious and foul odors from and mold growth in the HVAC
23   system.
24         67.   On information and belief, Toyota was unable to pinpoint the cause
25   of these HVAC issues and thus continued to issue TSBs for various components
26   in the HVAC system. Specifically, on or about December 2005, Toyota
27   informed its service technicians in a Toyota technicians’ manual that “A/C
28   system odors are a common complaint among users, especially after start up.” It

                                            Page 24
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 26 of 42 Page ID #:26



 1   goes on to explain that the odors can be caused by “[m]icrobes [i.e., mold]
 2   growing on the evaporator surface” that are “small living bacteria . . . carried
 3   into the evaporator case [that] grow in the warm, moist environment.”
 4   Additionally, it states that there is “no permanent mechanical repair” for this
 5   issue.
 6            68.   Despite notice of the defect from numerous consumer complaints
 7   and dealership repair orders, Toyota has not recalled the Class Vehicles to repair
 8   the HVAC Defect, has not offered their customers a suitable repair or
 9   replacement free of charge, and has not offered to reimburse the Class Vehicles’
10   owners and leaseholders in full for the costs they incurred in diagnosing and
11   repairing the HVAC Defect.
12            69.   On information and belief, the TSBs and recalls outlined above have
13   been ineffective at addressing the HVAC Defect.
14            70.   When consumers present the Class Vehicles to an authorized Toyota
15   dealer for repair of the HVAC system, consumers are typically told they must
16   pay for the repair. On information and belief, whether or not consumers are
17   forced to pay for the repair, the same defective part or parts are used to replace
18   the prior defective part or parts.
19            71.   To this day, Toyota still has not notified Plaintiffs and Class
20   Members that the Class Vehicles suffer from a systemic defect that causes the
21   HVAC system to malfunction.
22            72.   On information and belief, Toyota has caused Plaintiffs and Class
23   Members to expend money at its dealerships to diagnose, repair, or replace the
24   Class Vehicles’ HVAC systems or related components, despite Toyota’s
25   knowledge of the HVAC Defect.
26                  TOLLING OF THE STATUTE OF LIMITATIONS
27            73.   Because the defects in the design or manufacturer of the Class
28   Vehicles and their HVAC system cannot be detected until the defect manifests

                                              Page 25
                                       CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 27 of 42 Page ID #:27



 1   itself, Plaintiffs and Class Members were not reasonably able to discover the
 2   problem until after purchasing or leasing the Class Vehicles, despite their
 3   exercise of due diligence.
 4         74.    Plaintiffs and Class Members had no realistic ability to discern that
 5   the HVAC system was defective until it prematurely failed, and would have no
 6   reason to believe that problems they encountered were caused by a widespread,
 7   systemic defect. Therefore, the discovery rule is applicable to the claims
 8   asserted by Plaintiffs and Class Members.
 9         75.    Plaintiffs are informed and believe and based thereon allege that
10   Toyota knew HVAC Defect since 1997, if not earlier, and has concealed from or
11   failed to alert owners and lessees of the Class Vehicles of the defective nature of
12   their HVAC system.
13         76.    Any applicable statute of limitation has therefore been tolled by
14   Toyota’s knowledge, active concealment, and denial of the facts alleged herein.
15   Toyota is further estopped from relying on any statute of limitation because of its
16   concealment of the defective nature of the Class Vehicles and their HVAC
17   system.
18                         CLASS ACTION ALLEGATIONS
19         77.    Plaintiffs bring this lawsuit as a class action on behalf of themselves
20   and all others similarly situated as members of the proposed Plaintiff Classes
21   pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2) and/or 23(b)(3).
22   This action satisfies the numerosity, commonality, typicality, adequacy,
23   predominance, and superiority requirements of those provisions.
24         78.    The Class and Sub-Class are defined as:
25                Class: All individuals residing in the United States
                  who purchased or leased any Toyota Camry XV50
26                model vehicle.
27                CLRA Sub-Class: All members of the Class who are
                  “consumers” within the meaning of California Civil
28                Code § 1761(d).

                                            Page 26
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 28 of 42 Page ID #:28



 1                Implied Warranty Sub-Class: All members of the
                  Class who purchased or leased their vehicles in the
 2                State of California.
 3         79.    Excluded from the Class and Sub-Classes are: (1) Defendants, any
 4   entity or division in which Defendants have a controlling interest, and their legal
 5   representatives, officers, directors, assigns, and successors; (2) the Judge to
 6   whom this case is assigned and the Judge’s staff; (3) any Judge sitting in the
 7   presiding state and/or federal court system who may hear an appeal of any
 8   judgment entered; and (4) those persons who have suffered personal injuries as a
 9   result of the facts alleged herein. Plaintiffs reserve the right to amend the Class
10   and Sub-Class definitions if discovery and further investigation reveal that the
11   Class and Sub-Classes should be expanded or otherwise modified.
12         80.    There is a well-defined community of interest in the litigation and
13   each subclass is readily ascertainable.
14         81.    Numerosity: Although the exact number of prospective class
15   members is uncertain and can only be ascertained through appropriate discovery,
16   the number is great enough such that joinder is impracticable. The disposition of
17   prospective class members’ claims in a single action will provide substantial
18   benefits to all parties and to the Court. The prospective class members are
19   readily identifiable from information and records in Defendants’ possession,
20   custody, or control, as well as from records kept by the departments of motor
21   vehicles of the various states.
22         82.    Typicality: The claims of the representative Plaintiffs are typical of
23   the claims of the all prospective class members in that the representative
24   Plaintiffs and the prospective class members purchased and/or leased a Class
25   Vehicle designed, manufactured, and distributed by Toyota. The representative
26   Plaintiffs, like all prospective class members, have been damaged by
27   Defendants’ misconduct in that they have incurred or will incur the cost of
28   repairing or replacing the defective HVAC system. Furthermore, the factual

                                               Page 27
                                       CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 29 of 42 Page ID #:29



 1   bases of Toyota’s misconduct are common to all prospective class members and
 2   represent a common thread resulting in injury to all prospective class members.
 3         83.   Commonality: There are numerous questions of law and fact
 4   common to Plaintiffs and the prospective class members that predominate over
 5   any question affecting individual prospective class members. These common
 6   legal and factual issues include the following:
 7               (a)    Whether Class Vehicles contain defects relating to the HVAC
 8                      system;
 9               (b)    Whether the defects relating to the HVAC system constitute
10                      an unreasonable safety risk;
11               (c)    Whether Defendants knew about the defects relating to the
12                      HVAC system and, if so, how long Defendants have known
13                      of the defect;
14               (d)    Whether the defective nature of the HVAC system constitutes
15                      a material fact;
16               (e)    Whether Defendants have a duty to disclose the defective
17                      nature of the HVAC system to Plaintiffs and prospective class
18                      members;
19               (f)    Whether Plaintiffs and the prospective class members are
20                      entitled to equitable relief, including but not limited to a
21                      preliminary and/or permanent injunction;
22               (g)    Whether Defendants knew or reasonably should have known
23                      of the defects relating to the HVAC system before it sold and
24                      leased Class Vehicles to prospective class members;
25               (h)    Whether Defendants should be declared financially
26                      responsible for notifying all prospective class members of the
27                      problems with the Class Vehicles and for the costs and
28                      expenses of repairing and replacing the defective HVAC

                                            Page 28
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 30 of 42 Page ID #:30



 1                      system;
 2                (i)   Whether Defendants are obligated to inform prospective class
 3                      members of their right to seek reimbursement for having paid
 4                      to diagnose, repair, or replace the defective HVAC system;
 5                      and
 6                (j)   Whether Defendants breached the implied warranty of
 7                      merchantability pursuant to the Song-Beverly Act.
 8         84.    Adequate Representation: Plaintiffs will fairly and adequately
 9   protect prospective class members’ interests. Plaintiffs have retained attorneys
10   experienced in prosecuting class actions, including consumer and product defect
11   class actions, and Plaintiffs intend to prosecute this action vigorously.
12         85.    Predominance and Superiority: Plaintiff and the Class Members
13   have all suffered and will continue to suffer harm and damages as a result of
14   Defendant’s unlawful and wrongful conduct. A class action is superior to other
15   available methods for the fair and efficient adjudication of the controversy.
16   Absent a class action, most Class Members would likely find the cost of
17   litigating their claims prohibitively high and would therefore have no effective
18   remedy at law. Because of the relatively small size of the individual Class
19   Members’ claims, it is likely that only a few Class Members could afford to seek
20   legal redress for Defendant’s misconduct. Absent a class action, Class Members
21   will continue to incur damages, and Defendant’s misconduct will continue
22   without remedy. Class treatment of common questions of law and fact would
23   also be a superior method to multiple individual actions or piecemeal litigation in
24   that class treatment will conserve the resources of the courts and the litigants and
25   will promote consistency and efficiency of adjudication.
26         86.    In the alternative, the Class may be certified because
27                (a)   the prosecution of separate actions by the individual members
28                      of the Class would create a risk of inconsistent or varying

                                            Page 29
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 31 of 42 Page ID #:31



 1                       adjudication with respect to individual Class Members, which
 2                       would establish incompatible standards of conduct for
 3                       Toyota;
 4                 (b)   the prosecution of separate actions by individual Class
 5                       Members would create a risk of adjudications with respect to
 6                       them that would, as a practical matter, be dispositive of the
 7                       interests of other Class Members not parties to the
 8                       adjudications, or substantially impair or impede their ability
 9                       to protect their interests; and
10                 (c)   Toyota has acted or refused to act on grounds generally
11                       applicable to the Class, thereby making appropriate final and
12                       injunctive relief with respect to the members of the Class as a
13                       whole.
14                             FIRST CAUSE OF ACTION
15               (Violation of California’s Consumer Legal Remedies Act,
16                         California Civil Code § 1750, et seq.)
17         87.     Plaintiffs incorporate by reference the allegations contained in the
18   preceding paragraphs of this Complaint.
19         88.     Plaintiffs bring this cause of action on behalf of themselves and on
20   behalf of the members of the CLRA Sub-Class.
21         89.     Defendants are “person(s)” as defined by California Civil Code
22   § 1761(c).
23         90.     Plaintiffs and CLRA Sub-Class Members are “consumers” within
24   the meaning of California Civil Code § 1761(d) because they purchased their
25   Class Vehicles primarily for personal, family, or household use.
26         91.     By failing to disclose and concealing the defective nature of the
27   HVAC system from Plaintiffs and prospective Class Members, Defendants
28   violated California Civil Code § 1770(a), as it represented that the Class

                                             Page 30
                                      CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 32 of 42 Page ID #:32



 1   Vehicles and their HVAC systems had characteristics and benefits that they do
 2   not have, and represented that the Class Vehicles and their HVAC systems were
 3   of a particular standard, quality, or grade when they were of another. See Cal.
 4   Civ. Code §§ 1770(a)(5) & (7).
 5         92.      Defendants’ unfair and deceptive acts or practices occurred
 6   repeatedly in Defendants’ trade or business, were capable of deceiving a
 7   substantial portion of the purchasing public, and imposed a safety risk on the
 8   public.
 9         93.      Defendants knew that the Class Vehicles and their HVAC systems
10   suffered from an inherent defect, were defectively designed or manufactured, and
11   were not suitable for their intended use.
12         94.      As a result of their reliance on Defendants’ omissions and/or
13   misrepresentations, owners and/or lessees of the Class Vehicles suffered an
14   ascertainable loss of money, property, and/or value of their Class Vehicles.
15   Additionally, as a result of the HVAC Defect, Plaintiffs and Class Members were
16   harmed and suffered actual damages in that repair or replacement of the Class
17   Vehicles’ HVAC components is substantially certain to fail to resolve the odor
18   or mold issues and, thus, the HVAC system will require repair or replacement
19   perpetually.
20         95.      Defendants were under a duty to Plaintiffs and Class Members to
21   disclose the defective nature of the HVAC system and/or the associated repair
22   costs because:
23                  (a)   Defendants were in a superior position to know the true state
24                        of facts about the safety defect in the Class Vehicles’ HVAC
25                        systems;
26                  (b)   Plaintiffs and Class Members could not reasonably have been
27                        expected to learn or discover that their HVAC systems had a
28                        noxious and un-repairable safety defect until it manifested;

                                             Page 31
                                      CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 33 of 42 Page ID #:33



 1                       and
 2                (c)    Defendants knew that Plaintiffs and Class Members could not
 3                       reasonably have been expected to learn of or discover the
 4                       safety defect.
 5         96.    In failing to disclose the defective nature of the HVAC system,
 6   Defendants knowingly and intentionally concealed material facts and breached
 7   their duty not to do so.
 8         97.    The facts Defendants concealed from or failed to disclose to
 9   Plaintiffs and Class Members are material in that a reasonable consumer would
10   have considered them to be important in deciding whether to purchase or lease
11   the Class Vehicles or pay less. Had Plaintiffs and Class Members known that the
12   Class Vehicles’ HVAC systems were defective, they would not have purchased
13   or leased the Class Vehicles or would have paid less for them.
14         98.    Plaintiffs and Class Members are reasonable consumers who do not
15   expect the HVAC system installed in their vehicles to exhibit problems such as
16   contamination, mold growth and the emissions of foul and noxious odors. This
17   is the reasonable and objective consumer expectation relating to vehicle HVAC
18   systems.
19         99.    As a result of Defendants’ conduct, Plaintiffs and Class Members
20   were harmed and suffered actual damages in that, on information and belief, the
21   Class Vehicles experienced and may continue to experience problems such as the
22   HVAC system becoming contaminated, growing mold and emitting foul and
23   noxious odors, which are unable to be permanently repaired.
24         100. As a direct and proximate result of Defendants’ unfair or deceptive
25   acts or practices, Plaintiffs and Class Members suffered and will continue to
26   suffer actual damages.
27         101. Plaintiffs and the Class are entitled to equitable relief.
28         102. Plaintiffs provided Defendants with notice of their violations of the

                                            Page 32
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 34 of 42 Page ID #:34



 1   CLRA pursuant to California Civil Code § 1782(a). Defendants failed to provide
 2   appropriate relief for their violations of the CLRA. Therefore, Plaintiffs now
 3   seek monetary, compensatory, and punitive damages, in addition to injunctive
 4   and equitable relief.
 5                           SECOND CAUSE OF ACTION
 6       (Violation of California Business & Professions Code § 17200, et seq.)
 7         103. Plaintiffs incorporate by reference the allegations contained in the
 8   preceding paragraphs of this Complaint.
 9         104. Plaintiffs bring this cause of action on behalf of themselves and on
10   behalf of the Class.
11         105. As a result of their reliance on Defendants’ omissions and/or
12   misrepresentations, owners and/or lessees of the Class Vehicles suffered an
13   ascertainable loss of money, property, and/or value of their Class Vehicles.
14   Additionally, as a result of the HVAC Defect, Plaintiffs and Class Members were
15   harmed and suffered actual damages in that repair or replacement of the Class
16   Vehicles’ HVAC components is substantially certain to fail to resolve the odor
17   issue and, thus, the HVAC system will require repair or replacement perpetually.
18         106. California Business & Professions Code § 17200 prohibits acts of
19   “unfair competition,” including any “unlawful, unfair or fraudulent business act
20   or practice” and “unfair, deceptive, untrue or misleading advertising.”
21         107. Plaintiffs and Class Members are reasonable consumers who do not
22   expect their HVAC systems to exhibit problems such as emissions of foul and
23   noxious odors, contamination and mold growth.
24         108. Defendants knew the Class Vehicles and their HVAC systems
25   suffered from inherent defects, were defectively designed or manufactured, and
26   were not suitable for their intended use.
27         109. In failing to disclose the defects with the HVAC system, Defendants
28   have knowingly and intentionally concealed material facts and breached their

                                            Page 33
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 35 of 42 Page ID #:35



 1   duty not to do so.
 2         110. Defendants were under a duty to Plaintiffs and Class Members to
 3   disclose the defective nature of the Class Vehicles and their HVAC system:
 4                  (a)   Defendants were in a superior position to know the true state
 5                        of facts about the safety defect in the Class Vehicles’ HVAC
 6                        systems;
 7                  (b)   Defendants made partial disclosures about the quality of the
 8                        Class Vehicles without revealing the defective nature of the
 9                        Class Vehicles and their HVAC systems; and
10                  (c)   Defendants actively concealed the defective nature of the
11                        Class Vehicles and their HVAC systems from Plaintiffs and
12                        the Class.
13         111. The facts Defendants concealed from or did not disclose to Plaintiffs
14   and Class Members are material in that a reasonable person would have
15   considered them to be important in deciding whether to purchase or lease Class
16   Vehicles. Had Plaintiffs and other Class Members known that the Class
17   Vehicles’ HVAC systems were defective and posed a safety hazard, then
18   Plaintiffs and the other Class Members would not have purchased or leased Class
19   Vehicles equipped with the HVAC system, or would have paid less for them.
20         112. Defendants continued to conceal the defective nature of the Class
21   Vehicles and their HVAC systems even after Class Members began to report
22   problems. Indeed, Defendants continues to cover up and conceal the true nature
23   of the problem.
24         113. Defendants’ conduct was and is likely to deceive consumers.
25         114. Defendants’ acts, conduct and practices were unlawful, in that they
26   constituted:
27                  (a)   Violations of the California Consumer Legal Remedies Act;
28                        and

                                              Page 34
                                       CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 36 of 42 Page ID #:36



 1                (b)   Violations of the Song-Beverly Consumer Warranty Act.
 2                (c)   Violations of the Magnuson-Moss Warranty Act, 15 U.S.C. §
 3                      2301 et seq.)
 4         115. By their conduct, Defendants have engaged in unfair competition
 5   and unlawful, unfair, and fraudulent business practices.
 6         116. Defendants’ unfair or deceptive acts or practices occurred
 7   repeatedly in Defendants’ trade or business, and were capable of deceiving a
 8   substantial portion of the purchasing public.
 9         117. As a direct and proximate result of Defendants’ unfair and deceptive
10   practices, Plaintiffs and the Class have suffered and will continue to suffer actual
11   damages.
12         118. Defendants have been unjustly enriched and should be required to
13   make restitution to Plaintiffs and the Class pursuant to §§ 17203 and 17204 of
14   the Business & Professions Code.
15                            THIRD CAUSE OF ACTION
16              (Breach of Implied Warranty Pursuant to Song-Beverly
17   Consumer Warranty Act, California Civil Code §§ 1792 and 1791.1, et seq.)
18         119. Plaintiffs incorporate by reference the allegations contained in the
19   preceding paragraphs of this Complaint.
20         120. Plaintiffs bring this cause of action against Defendants on behalf of
21   themselves and on behalf of the members of the Implied Warranty Sub-Class.
22         121. Defendants were at all relevant times the manufacturer, distributor,
23   warrantor, and/or seller of the Class Vehicles. Defendants knew or had reason to
24   know of the specific use for which the Class Vehicles were purchased or leased.
25         122. Defendants provided Plaintiffs and Class Members with an implied
26   warranty that the Class Vehicles and their components and parts are
27   merchantable and fit for the ordinary purposes for which they were sold.
28   However, the Class Vehicles are not fit for their ordinary purpose of providing

                                            Page 35
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 37 of 42 Page ID #:37



 1   reasonably reliable and safe transportation because, inter alia, the Class Vehicles
 2   and their HVAC systems suffered from an inherent defect at the time of sale and
 3   thereafter are not fit for their particular purpose of providing safe and reliable
 4   transportation.
 5         123. Defendants impliedly warranted that the Class Vehicles were of
 6   merchantable quality and fit for such use. This implied warranty included,
 7   among other things: (i) a warranty that the Class Vehicles and their HVAC
 8   systems were manufactured, supplied, distributed, and/or sold by Toyota were
 9   safe and reliable for providing transportation; and (ii) a warranty that the Class
10   Vehicles and their HVAC systems would be fit for their intended use while the
11   Class Vehicles were being operated.
12         124. Contrary to the applicable implied warranties, the Class Vehicles
13   and their HVAC systems at the time of sale and thereafter were not fit for their
14   ordinary and intended purpose of providing Plaintiffs and Class Members with
15   reliable, durable, and safe transportation. Instead, the Class Vehicles are
16   defective, including, but not limited to, the defective design and manufacture of
17   their HVAC systems.
18         125. As a result of Defendants’ breach of the applicable implied
19   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
20   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
21   result of the HVAC Defect, Plaintiffs and Class Members were harmed and
22   suffered actual damages in that repair or replacement of the Class Vehicles’
23   HVAC components is substantially certain to fail to resolve the odor issue and,
24   thus, the HVAC system will require repair or replacement perpetually.
25         126. Defendants’ actions, as complained of herein, breached the implied
26   warranty that the Class Vehicles were of merchantable quality and fit for such
27   use in violation of California Civil Code §§ 1792 and 1791.1.
28

                                             Page 36
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 38 of 42 Page ID #:38



 1                           FOURTH CAUSE OF ACTION
 2    (Breach of Implied Warranty Pursuant to the Magnuson-Moss Warranty
 3                             Act, 15 U.S.C. § 2301 et seq.)
 4         127. Plaintiffs incorporate by reference the allegations contained in the
 5   preceding paragraphs of this Complaint.
 6         128. Plaintiffs bring this cause of action on behalf of themselves and on
 7   behalf all Class Members against Defendant.
 8         129. The Class Vehicles are a “consumer product” within the meaning of
 9   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
10         130. Plaintiffs and Class Members are “consumers” within the meaning
11   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
12         131. Defendants are “suppliers” and “warrantors” within the meaning of
13   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5). Defendants
14   impliedly warranted that the Class Vehicles were of merchantable quality and fit
15   for such use. This implied warranty included, among other things: (i) a warranty
16   that the Class Vehicles and their HVAC systems were manufactured, supplied,
17   distributed, and/or sold by Toyota were safe and reliable for providing
18   transportation; and (ii) a warranty that the Class Vehicles and their HVAC
19   systems would be fit for their intended use while the Class Vehicles were being
20   operated.
21         132. Contrary to the applicable implied warranties, the Class Vehicles, at
22   the time of sale and thereafter, were not fit for their ordinary and intended
23   purpose of providing Plaintiffs and Class Members with reliable, durable, and
24   safe transportation. Instead, the Class Vehicles are defective, including, but not
25   limited to, the defective design and manufacture of their HVAC systems.
26         133. Defendant’s breach of implied warranty has deprived Plaintiffs and
27   Class Members of the benefit of their bargain.
28         134. The amount in controversy of Plaintiffs’ individual claims meets or

                                            Page 37
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 39 of 42 Page ID #:39



 1   exceeds the sum or value of $25,000. In addition, the amount in controversy
 2   meets or exceeds the sum or value of $50,000 (exclusive of interests and costs)
 3   computed on the basis of all claims to be determined in this suit.
 4         135. The alleged HVAC Defect was inherent in each Class Vehicle and
 5   was present in each Class Vehicle at the time of sale.
 6         136. Upon information and belief, Defendants have been afforded a
 7   reasonable opportunity to cure their breaches, including when owners and lessees
 8   of the Class Vehicles brought their vehicles in for diagnoses and repair of the
 9   Class Vehicles.
10         137. As a direct and proximate cause of Defendants’ breach of implied
11   warranty, Plaintiffs and Class Members sustained damages and other losses in an
12   amount to be determined at trial. Defendants’ conduct damaged Plaintiffs and
13   Class Members, who are entitled to recover actual damages, consequential
14   damages, specific performance, diminution in value, costs, attorneys’ fees,
15   and/or other relief as appropriate.
16         138. As a result of Defendants’ violations of the Magnuson-Moss
17   Warranty Act as alleged herein, Plaintiffs and Class Members have incurred
18   damages.
19                             FIFTH CAUSE OF ACTION
20                               (For Unjust Enrichment)
21         139. Plaintiffs incorporate by reference the allegations contained in the
22   preceding paragraphs of this Complaint.
23         140. Plaintiffs bring this cause of action on behalf of themselves and on
24   behalf of the Class Members against Defendants.
25         141. As a direct and proximate result of Defendants’ failure to disclose
26   known defects and material misrepresentations regarding known defects,
27   Defendants have profited through the sale and lease of said vehicles. Although
28   these vehicles are purchased through Defendants’ agents, the money from the

                                            Page 38
                                     CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 40 of 42 Page ID #:40



 1   vehicle sales flows directly back to Defendants.
 2         142. Additionally, as a direct and proximate result of Defendants’ failure
 3   to disclose known defects and material misrepresentations regarding known
 4   defects in the Class Vehicles, Plaintiffs and Class Members have vehicles that
 5   require repeated repairs that can and therefore have conferred an unjust
 6   substantial benefit upon Defendants.
 7         143. Defendants have therefore been unjustly enriched due to the known
 8   defects in the Class Vehicles through the use of funds that earned interest or
 9   otherwise added to Defendants’ profits when said money should have remained
10   with Plaintiffs and Class Members.
11         144. As a result of the Defendants’ unjust enrichment, Plaintiffs and
12   Class Members have suffered damages.
13                               RELIEF REQUESTED
14         145. Plaintiffs, on behalf of themselves and all others similarly situated,
15   request the Court to enter judgment against Defendants, as follows:
16               (a)    An order certifying the proposed Class and Sub-Class,
17                      designating Plaintiffs as named representatives of the Class,
18                      and designating the undersigned as Class Counsel;
19               (b)    A declaration that Defendants are financially responsible for
20                      notifying all Class Members about the defective nature of the
21                      HVAC system, including the need for periodic maintenance;
22               (c)    An order enjoining Defendants from further deceptive
23                      distribution, sales, and lease practices with respect to Class
24                      Vehicles, and to remove and replace Plaintiffs and Class
25                      Members’ HVAC systems with a suitable alternative product;
26                      enjoining Defendants from selling the Class Vehicles with the
27                      misleading information; compelling Defendants to provide
28                      Class members with a replacement HVAC system that does

                                            Page 39
                                    CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 41 of 42 Page ID #:41



 1                    not contain the defects alleged herein; and/or compelling
 2                    Defendants to reform their manufacturer’s warranty, in a
 3                    manner deemed to be appropriate by the Court, to cover the
 4                    injury alleged and to notify all Class Members that such
 5                    manufacturer’s warranty has been reformed;
 6              (d)   A declaration requiring Defendants to comply with the
 7                    various provisions of the Song-Beverly Act alleged herein and
 8                    to make all the required disclosures;
 9              (e)   An award to Plaintiffs and the Class for compensatory,
10                    exemplary, and statutory damages, including interest, in an
11                    amount to be proven at trial;
12              (f)   Any and all remedies provided pursuant to the Song-Beverly
13                    Act, including California Civil Code section 1794;
14              (g)   A declaration that Defendants must disgorge, for the benefit
15                    of the Class, all or part of the ill-gotten profits they received
16                    from the sale or lease of their Class Vehicles, or make full
17                    restitution to Plaintiffs and Class Members;
18              (h)   An award of attorneys’ fees and costs, as allowed by law;
19              (i)   An award of attorneys’ fees and costs pursuant to California
20                    Code of Civil Procedure § 1021.5;
21              (j)   An award of pre-judgment and post-judgment interest, as
22                    provided by law;
23              (k)   Leave to amend the Complaint to conform to the evidence
24                    produced at trial; and
25              (l)   Such other relief as may be appropriate under the
26                    circumstances.
27
28   ///

                                          Page 40
                                   CLASS ACTION COMPLAINT
Case 2:15-cv-08629-FMO-E Document 1 Filed 11/04/15 Page 42 of 42 Page ID #:42



 1                            DEMAND FOR JURY TRIAL
 2          146. Plaintiffs demand a trial by jury of any and all issues in this action
 3   so triable.
 4
 5   Dated: November 4, 2015                  Respectfully submitted,
 6                                            Capstone Law APC
 7
 8                                        By: /s/ Jordan L. Lurie
                                             Jordan L. Lurie
 9                                           Robert Friedl
                                             Tarek H. Zohdy
10                                           Cody R. Padgett
11                                            Attorneys for Plaintiffs Alfred Salas and
                                              Gloria Ortega
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            Page 41
                                     CLASS ACTION COMPLAINT
